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April 2, 2020

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

Xx
UNITED STATES OF AMERICA
WAIVER OF RIGHT TO BE PRESENT AT
~~ CRIMINAL PROCEEDING
Wayne Morgan
¥ 8 cr ( )()
Defendant.
x 20 Cr 543

 

Check Proceeding that Applies

Xx

Date:

Date:

Arraignment

| have been given a copy of the indictment containing the charges against me and have reviewed it with my
attorney. | understand that | have a right to appear before a judge in a courtroom in the Southern District
of New York to confirm that | have received and reviewed the indictment; to have the indictment read aloud
to me if | wish; and to enter a plea of either guilty or not guilty before the judge. After consultation with
my attorney, | wish to plead not guilty. By signing this document, | wish to advise the court of the following.
| willingly give up my right to appear in a courtroom in the Southern District of New York to advise the court
that:

1) | have received and reviewed a copy of the indictment.
2) | do not need the judge to read the indictment aloud to me.
3) | plead not guilty to the charges against me in the indictment.

  

 

Signature of Defendant

_____lan Marcus Amelkin for
Wayne Morgan __
__ Print Name

Bail Hearing

| am applying or in the future may apply for release from detention, or if not detained, for modification of
the conditions of my release from custody, that is, my bail conditions. | understand that | have a right to
appear before a judge in a courtroom in the Southern District of New York at the time that my attorney
makes such an application. | have discussed these rights with my attorney and wish to give up these rights
for the period of time in which access to the courthouse has been restricted on account of the COVID-19
pandemic. | request that my attorney be permitted to make applications for my release from custody or
for modification of the conditions of my release even though | will not be present, and to make such
applications in writing or by telephone in my attorney’s discretion.

 

Signature of Defendant

 

Print Name

 
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X Conference

| have been charged in an indictment with violations of federal law. | understand that | have a right to be
present at all conferences concerning this indictment that are held by a judge in the Southern District of
New York, unless the conference involves only a question of law. | understand that at these conferences
the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
excluded in setting the time by which the trial must occur. | have discussed these issues with my attorney
and wish to give up my right to be present at the conferences. By signing this document, | wish to advise
the court that | willingly give up my right to be present at the conferences in my case for the period of time
in which access to the courthouse has been restricted on account of the COVID-19 pandemic. | request that
my attorney be permitted to represent my interests at the proceedings even though | will not be present.

Date: — \hb-—
Sighataré of Defendant

lan Marcus Amelkin for Wayne Morgan
Print Name

 

| hereby affirm that | am aware of my obligation to discuss with my client the charges contained in the indictment,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. | affirm that my client knowingly and voluntarily consents to the proceedings being held in my client’s absence.
| will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of

the proceedings, if re SVs
Date: \

Sfgnature of Defense Counsel

lan Marcus Amelkin
Print Name

 

Addendum for a defendant who requires services of an interpreter:

| used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:

 
   

Date:
Signature of Defense Counsel

Accepted: Oo _
Signature q

Date:

 
